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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION

 IN RE: AMERLINK, LTD.                                             CASE NO.: 09-01055-8-CRA
      DEBTOR                                                       CHAPTER 7

                          REPORT OF SMALL/UNCLAIMED FUNDS

         Stephen L. Beaman, Chapter 7 Trustee, ("Trustee") having made an interim distribution
 of the above estate, respectfully reports unto the Court:

        1. That checks were issued to certain creditors in payment of dividends due in the
 interim distribution of the estate and that said checks are stale dated, a list of all known names
 and address of the entities and the amount which they are entitled to be paid from the remaining
 property of the estate is as follows:

  Claim No.    Name & Last Known Address                                                 Amount

  6            Emmett Taylor, 33230 Taylors Farm Rd., Temperanceville, VA 23442          14.58

  9            Rocky Mount Electric Motor, S & S, Inc., PO Box 29, Rocky Mount, NC       6.42
               27802-0029

  14           Rafael De Leon/Julianita De Leon, 105-D Sterling Moss Way, Statesville,   39.56
               NC 28625

  21           Fred Genchi, 9901 Hatton Ferry Rd, Scottsville, VA 24590                  181.52

  22           Restoration Woodworks, PO Box 448, Efland, NC 27243                       16.07

  25           Custom Building Concepts, Inc., 6210 Dollar Way Road- Suite #5, Pine      69.88
               Bluff, AR 71602

  38           Dr. Jerry Smith, 2103 Alexis Court, Tarpon Springs, FL 34689              16.98

  41           Jefco Landscaping Maintenance, 4052 Tucker Trail, Rocky Mount, NC         29.48
               27804

  42           Healthy Lawns of the Hudson Valley, 480 Hallihans Hill Road, Kingston,    27.90
               NY 12401

  44           Donna Gjurovich, 9 Addis Street, Kingston, NY 12401                       13.00

  48           Turman Lumber Company, Inc., c/o Coface North America, Inc., 50           278.78
               Millstone Rd., Bldg. 100, Ste. 360, East Windsor, NJ 08520

  67           Golf Magazine, 541 Fairbanks, Chicago, IL 60611                           47.93

  69           M Smith Anderson Blount Dorsett, PO Box 2611, Raleigh, NC 27602-2611      95.01

  73           Rich Krabill and Sandy Krabill, 29880 Seven Mile Lane, Shedd Linn, OR     5.99
               97377
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  82        Rodney Stairr, Diana Stair, 1244 Plantation Rd, Elberton, GA 30635            112.49

  92        Hodell-Natco Industries, Inc., PO Box 931355, Cleveland, OH 44193-0477        69.25

  93 & 94   Eastern Forest Products,. c/o Coface North America, Inc., 50 Millstone Rd.,   476.82
            Bldg. 100, Ste. 360, East Windsor, NJ 08520

  97        Bray Log & Lumber Co., 8215 Tualatin Sherwood Road, Suite 200,                755.29
            Tualatin, OR 97062

  98        Deltacom, 2970 Clairmont Road, Ste. 200, Atlanta, GA 30329                    10.97

  101       Mike Cobena, 4511 Croyden Avenue,m New Orleans, LA 70131                      200.97

  103       MW Manufacturing, PO Box 79634, Baltimore, MD 21279-0634                      352.08

  112       Canon Financial Services, Inc., PO Box 4004, Carol Stream, IL 60197-          33.31
            4004

  118       Robert Patterson, Virginia Patterson, 1464 Prospect Church Road, Dunn,        13.39
            NC 28334

  120       John Baber, Kim Baber, 5964 Jarmen's Gap Rd, Crozer, VA 22932                 22.19

  124       Kevin Grass, 8600 Olde Colony Trial #90, Knoxville, TN 37923                  3535.54

  135       South Atlantic Lumber Industries, PO Box 9739, Greensboro, NC 27429           87.72

  139       Brian Soerensen, Arlene Manson, Langkaervej 23, 7330 Brande, Denmark          263.58

  145       Greatwide Cheetah, LLC, 378 Williamson Road, Mooresville, NC 28117            115.39

  148       Glenn Morris, 2494 Taylor Road, Crestview, FL 32536                           5.08

  149       Carolina Telephone and Telegraph Company, 5454 W. 110 th Street,              29.38
            Shawnee Mission, KS 66211-1204

  150       United Telephone Southeast, LLC, 5454 W. 110 th Street, Shawnee Mission,      12.15
            KS 66211-1204

  160       Kevin Maldonado, Esq., 5 Hickory Hill Road, Windham, New York                 49.68

  164       Hunton & Williams, LLP,                                                       177.02

  167       Leo Borter, Marie Morel, 44 Globe Lane, Willingboro, NJ 08046                 15.76

  174       Don Habermehl, U.S. Awnings, 604 S. Raymond Avenue, Fullerton, CA             148.38
            92831

  189       Pioneer Rustic Railing, 41 Accident Alley, Reynoldsville, PA 15851            113.64

  195       Victor Belanger, Kaye Belanger, 1692 Old Trenton Rd, Princeton Junction,      30.12
            NJ 08550

  198       Eric Clenney, 6391 Payne Rd., Tobaccoville, NC 27050                          36.63

  203       Gary and Elke Gross, C/O Law Office of Barry Nakell, 149 Dixie Drive          658.88
            Chapel Hill, NC 27514
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  206        Robert Francisco, P. O. Box 155, Callahan, FL 32011                      22.00

  207        Charlie Bishop, HC 1 Box 1564, Silva, MO 63694                           7.83

  212        Duane Walker, Sharon Walker, 5401 Brandermill Court, Greensboro, NC      44.33
             27407

  216        Robert and Eva Harris, 13090 Edgedale, Belleville, Michigan 48111        33.78

  220        Brown Law, LLP, 5410 Trinity Road, Raleigh, NC 27607                     81.94

  224        Bruce Benwell, 5425 Tall Cedars Road, Sumerduck, VA 22742                429.38

  227        United Parcel Service, c/o RMS Bankruptcy Recovery Services, PO Box      26.22
             4396, Timonium, Maryland 21894

  229        Eddie & Linda Carr, 1504 East Fork Drive, Salisbury, NC 28146            32.37

  239        Dewey Link, 2197 Denune Ave., Columbus, OH 43211                         308.15

  264        Southeastern Freight Lines, Inc., c/o RMS Bankruptcy Recovery Services   17.34
             P.O. Box 5126, Timonium, Maryland 21094

  273        EMC Outdoor, 5074 West Chester Pike-2nd Floor, Newton Square, PA         228.15
             19073

  311        Best Business Appraisals, LLC, 14344 Y St., Ste. 102, Omaha, NE 68137    15.98

  327        Horizon Trust Investment and Management, c/o Alan McInnes                58.21
             3737 Glenwood Ave., Suite 400, Raleigh, NC 27612

  328        Phil Patsfield, Barbara Patsfield, 20924 Eustis Rd, Land O' Lakes, FL    17.14
             34637

  343        Boyce & Isley, PLLC, PO Box 1990, Raleigh, NC 27602-1990                 79.11

  344        Patricia Powers & Tim Powers, 5728 Bass Drive, Zephyrhills, FL 33541     30.83

  345        Curtis Perry, 7933 Cleveland Road, Clayton, NC 27520                     139.60

  372        Rosecrants Construction, 435 Mountain View Lane, Wilder, TN 38589        54.74

  373        Debra Taylor, 1612 W. Flower Ave., Fullerton, CA 92883                   27.37

  374        Mark Sylvester, Kim Sylvester, 9 Highland Terrace, Gloversville, NY      1042.83
             12078

        WHEREFORE, the undersigned Trustee desires to pay unto the Court said unclaimed
 dividends pursuant to 11 U.S.C. §347.

        DATED: October 29, 2018.
                                                 s/Stephen L. Beaman
                                                 Stephen L. Beaman, NC State Bar No. 6021
                                                 PO Box 1907, Wilson, NC 27894-1907
                                                 Phone (252) 237-9020 Fax (252) 243-5174
                                                 Email: sbeaman@beamanlaw.com
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                                CERTIFICATE OF SERVICE



                This is to certify that a copy of the foregoing Report of Unclaimed Funds was
 served on the persons listed below, on this date by mailing a copy of the said document to them
 at their address, by depositing the same in a postpaid, properly addressed wrapper in a Post
 Office or other official depository under the exclusive care and custody of the U.S. Postal
 Service or by electronic notification as noted.


        DATED: October 29, 2018
                                            s/Stephen L. Beaman
                                            Stephen L. Beaman, NC State Bar No. 6021
                                            PO Box 1907, Wilson, NC 27894-1907
                                            Phone (252) 237-9020 Fax (252) 243-5174
                                            Email: sbeaman@beamanlaw.com

 SERVED ON:

 Bankruptcy Administrator (via CM/ECF)
